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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA




                                                 )
 LISA INZINGA,                                   )
                                                 )
 Plaintiff,                                      )
                                                 )
                   v.                            )         Civil Action No. 18-420
                                                 )
 CITIMORTGAGE, INC.,
                                                 )
                                                 )
 Defendant.
                                                 )




                              MEMORANDUM ORDER SETTING
                          PRELIMINARY CONFERENCE OF COUNSEL


        The above case has been assigned to me for all further proceedings. Pursuant to


Local Rules 16.1 and 16.2, an initial case management conference will be conducted to


discuss narrowing of the issues, the extent of pretrial preparation, discovery procedures,


the early disposition of controlling questions of law, the probable extent of provable


damages, the possibility of settlement, and the designation of an Alternative Dispute
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Resolution process pursuant to the form attached hereto as Exhibit A.        Chief trial counsel


and the parties/principals with full settlement authority shall attend.     Counsel and the


parties should be prepared to discuss settlement as well as Alternative Dispute


Resolution.


       The Conference in this case will be held on Thursday May 17, 2018 at 3:00 p.m.,


in Courtroom 5B, Fifth Floor of Joseph F. Weis, Jr. U.S. Courthouse, 7th Avenue and


Grant Street, Pittsburgh, PA 15219.


       As required by Rule 26(f) of the Federal Rules of Civil Procedure, the parties must,


as soon as practicable and in any event at least 21 days before May 17, 2018, the date


set forth above for the initial case management conference, "confer to consider the nature


and basis of their claims and defenses and the possibilities for a prompt settlement or


resolution of the case, to make or arrange for the disclosures required by Rule 26(a)(1),


and to develop a proposed discovery plan[]" See Fed.R.Civ.P. 26(f). Pursuant to Rule


26(f), the attorneys of record and all unrepresented parties that have appeared in the


case are jointly responsible for filing with the Court a written report outlining their discovery
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plan. (A Rule 26(f) Report Form is attached hereto as Exhibit B). This court requires


strict compliance with Rule 26.


       The Stipulation Selecting ADR Process, attached at Exhibit A, and the Rule 26(f)


Report Form, attached as Exhibit B, as well as, if appropriate, any Expedited Docket


Stipulation (see copy of form at link referenced below), shall be filed on or before


May 10, 2018.


       Counsel should be familiar with this Court's Practices and Procedures (see Court


Practices and Procedures at www.pawd.uscourts.gov, link "court practice".). If the parties


stipulate to participate in the Court’s Expedited Civil Litigation Program, counsel shall


comply with the provisions of said program


(http://www.pawd.uscourts.gov/Pages/expedite.htm).


             SO ORDERED this 1st day of May, 2018.


                                            s/Nora Barry Fischer
                                             Nora Barry Fischer
                                             United States District Judge


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cc/ecf:      Counsel of record




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